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                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )         CRIM. NO. 06-00080 (02) SOM
                              )
          Plaintiff,          )
                              )         ORDER CONSTRUING “NOTICE OF
     vs.                      )         APPEAL” FILED ON MARCH 6,
                              )         2014, AND EXTENDING TIME TO
RODNEY JOSEPH, JR. (02),      )         FILE NOTICE
                              )
          Defendant.          )
_____________________________ )

                ORDER CONSTRUING “NOTICE OF APPEAL”
                    FILED ON MARCH 6, 2014, AND
                   EXTENDING TIME TO FILE NOTICE

          This order concerns the effect of a “Notice of Appeal”

filed by Defendant Rodney Joseph, Jr., on March 6, 2014.            That

document, for reasons explained in this order, has not so far led

to appellate proceedings, but, to the extent it should have, this

order seeks to give that document its intended effect.

          This order is part of a very lengthy case involving

allegations that Joseph and others had killed and attempted to

kill people.   On March 20, 2009, after a lengthy jury trial,

Defendants Rodney Joseph and Co-Defendant Ethan Motta were

convicted of having violated the Racketeer Influenced and Corrupt

Organizations Act (“RICO”) and the Violent Crimes in Aid of

Racketeering Enterprise Act (“VICAR”), as charged in the Second

Superseding Indictment of October 12, 2006.        See Verdict Form as

to Defendant (02) Rodney Joseph, Jr., (March 20, 2009), ECF No.

1090; Verdict Form as to Defendant (05) Ethan Motta (March 20,

2009), ECF No. 1092.    They received mandatory life sentences.
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            On July 10, 2009, Joseph appealed his conviction and

sentence.    See ECF No. 1159.    On November 30, 2009, Motta

appealed his conviction and sentence.      See ECF No. 1263.

            The Ninth Circuit affirmed the convictions and

sentences in a Memorandum Decision filed on January 10, 2012.

See ECF No. 1341.

            Joseph and Motta filed innumerable motions as pro se

litigants, some while awaiting the Ninth Circuit’s decision.             For

example, to meet the deadline set by Rule 33 of the Federal Rules

of Civil Procedure, Motta filed, in March 2012, a Third Motion

for New Trial.    Motta followed up with a Fourth Motion for New

Trial and an additional Motion for New Trial.         See ECF Nos. 1345,

1350, and 1358.    Joseph filed joinders in two of these motions.

See ECF Nos. 1349 (joining in ECF No. 1345) and ECF No. 1391

(joining in ECF No. 1350).

            On April 15, 2013, Joseph filed a petition to vacate,

set aside, or correct his sentence pursuant to 28 U.S.C. § 2255.

See ECF No. 1466.

            On December 17, 2013, Motta withdrew his motions for

new trial.    See ECF No. 1520.    Under Local Rule 7.9, which took

effect on December 1, 2009, “[u]nless otherwise ordered by the

court, whenever an underlying motion is withdrawn, any joinders

are also treated as withdrawn.”      Local Rule 7.9 is specifically

made applicable to criminal cases by Criminal Local Rule 12.3.


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Accordingly, when Motta withdrew his motions for new trial, the

court stated that it was treating Joseph’s joinders in those

motions as withdrawn.    See ECF No. 1521.      In treating a joinder

as dependent on the underlying motion, the court relieves the

joining party of the need to comply with certain rules that

otherwise govern the timing of motions.        See Local Rule 7.2

(civil motions cannot be heard sooner than 35 days after

service); Crim. Local Rule 12.2(d) (criminal motions cannot be

heard sooner than 21 days after service).        But the benefit of

such relief is not cost-free.      As a matter of fairness to the

party opposing a motion that has been joined in, when the

underlying motion is withdrawn, the court treats any joinder

therein as also withdrawn.     To avoid the risk of withdrawal, a

party may choose to file its own motion instead of joining in

another party’s motion.    In the present case, cognizant that

Joseph might be taken by surprise and seeking to alleviate any

prejudice to him, the court allowed him to file a supplemental

memorandum in support of his pending § 2255 petition.           Id.

          On December 27, 2013, Joseph filed a request that he be

deemed not to have joined in the withdrawal of the motions for

new trial.   See ECF No. 1522.     That request was denied in an

order filed on January 6, 2014.      See ECF No. 1523.      Joseph then

filed a document that included a “Motion Reconsideration” and a

“Motion Notice of Appeal if Motion for Reconsideration rule 33,


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34, is not heard, pro se.”     The court denied relief to Joseph on

February 5, 2014.    See ECF Nos. 1528 and 1529.       The court told

Joseph that, to the extent he was seeking appellate review of the

court’s ruling, he did not need the court’s permission to file a

“Notice of Appeal.”    See ECF No. 1529.

          On March 6, 2014, the court received a document from

Joseph that Joseph said he had placed in the prison mail system

on February 27, 2014.    See ECF No. 1540.     Citing Rule 6 of the

Federal Rules of Civil Procedure (emphasis added), that document

contains the headings “Motion ‘Notice of Appeal,’” “Motion to

Joinder Co-Defendant ETHAN MOTTA’S 28 USC 2255, Pro-se,” and

“PLEASE consider EXTENSION for EXCUSABLE NEGLECT.”          Id.

Notwithstanding this court’s earlier instruction that no

permission was needed to appeal, this document appeared to be

“moving” for a notice of appeal while also asking this court to

allow joinder in Motta’s § 2255 petition and citing a civil

procedure rule.   This court thought Joseph was continuing to seek

action by this court.1

          On March 10, 2014, the court issued a minute order that

acknowledged that a prison lockdown had prevented Joseph from

meeting the applicable 14-day reconsideration deadline.            The

court therefore considered the arguments raised in the filing of



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     The docket clerk, however, entered a notation that Joseph
appeared to be seeking an extension of the appeal deadline.

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March 6, 2014, and denied what it thought was Joseph’s repeated

request for reconsideration of the court’s order denying his

motion to “not join” in the withdrawal of the new trial motions.

See ECF No. 1541.    Joseph did not inform this court that its

order of March 10, 2014, had misconstrued his filing of March 6,

2014.

           There are more than 1,500 docket entries in this case,

and this court misconstrued the document docketed on March 6,

2014.   In hindsight, the document seems to be a clear attempt by

Joseph to file the very notice of appeal this court had earlier

told Joseph he could file without leave of court.          But the court

had in mind the prior “motion” also referring to a “notice of

appeal” that was contingent on a refusal by this court to rule on

a reconsideration motion.

           On July 24, 2014, this court received a letter from

Joseph to the Ninth Circuit Court of Appeals that the Ninth

Circuit forwarded to this court.        In the letter, Joseph asks the

status of the appeal filed in March 2014 concerning this court’s

treatment of his joinders in the motions for new trial.            At this

time, this court hastens to correct its treatment of Joseph’s

filing.

           Finding that the prison lockdown constitutes good cause

to extend the time for the filing of Joseph’s appeal from this

court’s minute order dated February 5, 2014, this court extends


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that time by 30 days pursuant to Rule 4(b)(4) of the Federal

Rules of Appellate Procedure.        The original appeal deadline of

February 19, 2014, is therefore extended to March 21, 2014.               The

Clerk of the Court is directed to treat Joseph’s filing of March

6, 2014, ECF No. 1540, as his Notice of Appeal and to transmit

material to the Ninth Circuit accordingly.

            IT IS SO ORDERED.

            DATED: Honolulu, Hawaii, July 31, 2014.



                                     /s/ Susan Oki Mollway
                                    Susan Oki Mollway
                                    Chief United States District Judge


United States of America v. Joseph, Crim. No. 06-00080 SOM (02); ORDER
CONSTRUING “NOTICE OF APPEAL” FILED ON MARCH 6, 2014, AND EXTENDING TIME TO
FILE NOTICE.




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